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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

J.B. HUNT TRANSPORT, INC.                                                             PLAINTIFF

v.                               Case No. 5:23-CV-05094-TLB

TTEC DIGITAL, LLC, Successor in Interest to
AVTEX SOLUTIONS, LLC; and TTEC
HOLDINGS, INC.                                                                     DEFENDANTS

                             BRIEF IN SUPPORT OF
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiff J.B. Hunt Transport, Inc. (“Hunt”) sues TTEC Digital, LLC, who is the successor

in interest to former defendant Avtex Solutions, LLC, and it also sues TTEC Holdings, Inc.

(collectively, “TTEC”), for two counts of breach of contract. Hunt sues to recover over a million

dollars in attorneys’ fees for a data breach that never occurred and spent defending four lawsuits

that were dismissed pre-discovery at the pleadings stage. TTEC is entitled to summary judgment

in its favor because Hunt’s claims fail on the undisputed facts as a matter of law. The first breach-

of-contract claim fails because there is no evidence that TTEC breached the contract and there is

no evidence that any personal data was hacked. In any event, Hunt’s damages claim for its first

breach-of-contract claim fails Arkansas’s tacit agreement rule. The second breach-of-contract

claim fails because the contract’s indemnification provision did not impose an obligation on TTEC

to indemnify Hunt for Hunt’s own conduct as a matter of Arkansas law.

                                        BACKGROUND

       Founded in 1982, TTEC has over 40 years of experience providing business process

outsourcing, technology, consulting, and analytics services to deliver, among other things,

technical computer support. See Declaration of Tommy Hu, Ex. 1 to Motion, at ¶ 3. At all times

relevant to this action, TTEC was certified by Microsoft as a gold-certified managed partner who
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could install Microsoft products. See id. at ¶ 4. In June 2019, Hunt contracted for TTEC to install

certain Microsoft software related to the recruitment of driver applicants to become employees.

Specifically, Hunt and TTEC entered into a Master Service Agreement (“MSA”) to “perform the

requested Services” . . . as specified . . . in the applicable Statement of Work” (“SOW”). The MSA

and SOW are attached to TTEC’s motion as Exhibits 2 and 3, respectfully.

       The SOW sets forth that Hunt was replacing its workforce management systems, including

“the portal[] to be used by Driver Candidates,” with a new “Microsoft Dynamics 365 based driver

recruiting system” (the “Portal”) created by Microsoft. SOW, Ex. 3, §1.1-1.2. In other words,

Hunt wanted a new online job application program for drivers.

       Microsoft Dynamics 365 (D365) is a suite of applications that allows businesses to, among

other things, monitor their supply chains, coordinate among teams, and connect directly with

customers. See Hu Declaration, Ex. 1, at ¶ 5. The Portal is an application that uses the D365

framework to receive and store job applications, which can include an applicant’s personal

information. See id. at ¶ 6.

       The SOW “define[d] the implementation project for the Microsoft Dynamics 365 based

next generation driver recruiting system,” including the Portal, and provided “an estimated cost,

timeline, assumptions, and responsibilities for the delivery of the driver recruiting system.” SOW,

Ex. 3, § 1.2. Pursuant to the MSA, TTEC represented and warrantied “that the Services and

Deliverables will operate as described in the [SOW] and will be free of material defects . . . for a

period of sixty (60) days following the date such Services and Deliverables are accepted by” Hunt.

MSA, Ex. 2, § 4.1. For the warranty to be triggered, Hunt was required to report any such alleged

material defects within 60 days following the acceptance date. Id. Undisputedly, Hunt did not




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make such a timely report and, as a result, it makes no breach of warranty claim in this action. See

Hu Declaration, Ex. 1, at ¶ 8.

       The SOW provided that “all required Microsoft licensing will be procured by” Hunt, and

that TTEC “will be listed as Microsoft’s Partner of Record (POR) for the D365 purchase and

implementation.” SOW, Ex. 3, § 1.7. The SOW also made clear that “[a]ll D365 modules and

instances will be hosted by Microsoft.” Id. The SOW also provided the precise manner of testing

that TTEC (f/k/a “Avtex”) would be allowed to perform but that Hunt also had responsibility to

test user acceptance:




Id.
       In terms of the development of the Portal, Hunt required “system development” be limited

to:




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Id.

          Section 2 of the SOW, entitled “Project Scope of Work & Services,” identified tasks related

to D365 and the Portal, including those deemed “In Scope” and “89 Must Have Requirements” in

Appendix A to the SOW,” which included:

      -   “Applicant PII [Personal Identifiable Information] provided during the recruiting and

          application process is secure given the damage that could occur should this information

          fall into unscrupulous hands. The system ensures only those with roles requiring visibility

          see the applicant’s PII.”

      -   “System administrators can grant and restrict access as appropriate given the user’s role

          when setting the user up. The system allows for the appropriate access to be granted.”

Additional Section 2 tasks included:

      -   “Configuration of portal for driver application process(es).”

      -   TTEC providing “technical support throughout the project duration for Microsoft specific

          or custom developed applications.”

          The SOW also identified as a “key business issue” that the Portal “must address” was the

mitigation of “risk of storing sensitive candidate information such as Personally Identifiable

Information (PII) in personal email accounts.” SOW, Ex. 3, § 1.2.

          The Portal went live in 2020. Am. Compl., ECF 12, ¶ 13. TTEC continued to test,

troubleshoot, and fine-tune the Portal through February 2021. See Hu Declaration, Ex. 1, at ¶ 8.

As of February 2021, TTEC’s work was done and Hunt discontinued the relationship with TTEC.

See id.

          Viewing the evidence in a light most favorable to Hunt, as the nonmoving party here, the

dispute underlying this action developed as follows. On July 2, 2021, a third-party cybersecurity

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firm – named UpGuard – notified Hunt of a configuration error in the Portal that potentially

exposed the PII of job applicants to hackers (the “Security Vulnerability”). Am. Compl., ECF 12,

¶ 13. Upguard, apparently seeking to act as a “white knight,” uncovered the Security Vulnerability

with the Portal’s default Microsoft settings and notified Hunt – and other users of the Microsoft

Power Apps portal – of this issue. In other litigation that was pending before this Court, Hunt

explained how the issue of the Security Vulnerability arose:

       In the UpGuard Report, UpGuard detailed its research on vulnerability associated
       with Microsoft Power Apps and provided targeted observations for several entities,
       including American Airlines, Ford, J.B. Hunt, and various governmental entities
       that used the Microsoft Power Apps. See McTigue Decl, Ex. A at pp. 5-10.
       Specifically, J.B. Hunt learned that when configured using default settings, the
       Microsoft Power Apps portal might enable public access to certain data. See SCC
       ¶¶ 5, 38, 46, Ex. 1.

Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 45 (W.D. Ark. Mar. 31, 2022), Ex. 4, at p. 8.

       Within five days, by July 7, 2021, Hunt responded and secured the Portal on its own,

without asking anything of TTEC. See Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 45 (W.D.

Ark. Mar. 31, 2022), Ex. 4, at p. 9. Indeed, Hunt wrote to affected applicants that it “immediately

took steps to secure the portal” and “reviewed permissions to access data in the cloud, made

modifications for all cloud services, and implemented other measures to help prevent unauthorized

access to our data.” Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 32-1 (W.D. Ark. Mar. 1, 2022),

Ex. 5. Hunt told this Court in the Wilson litigation that it used security procedures routinely used

to manage critical business systems to fix the configuration issue and to secure the Portal against

potential hackers. See Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 45 (W.D. Ark. Mar. 31,

2022), Ex. 4, at pp. 8-9. Hunt correctly described the vulnerability as not being “readily

detectable”:

       Upon receipt of UpGuard’s notification and consistent with security procedures
       routinely used to manage critical business systems, J.B. Hunt promptly changed the

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       configuration, secured the Portal, and took additional steps to prevent similar
       vulnerabilities in the future. Id. ¶ 38, Ex. 1. UpGuard has since independently
       confirmed that J.B. Hunt “secured” the Microsoft Power Apps portal on its Portal
       by July 7, 2021. See McTigue Decl., Ex. A at p. 6.

       On August 23, 2021, and while J.B. Hunt was still in the process of investigating
       the incident, UpGuard publicly disclosed the Microsoft Power Apps vulnerability
       and the Security Vulnerability for the first time by way of the UpGuard Report.
       SCC ¶ 43. UpGuard expressed the view that the potential vulnerability in the
       Microsoft Powers App that led to the Security Vulnerability was neither
       “adequately publicized,” “adequately appreciated,” nor readily detectable prior to
       its reporting. McTigue Decl., Ex. 1 at p. 2. Indeed, according to UpGuard,
       “multiple governmental bodies reported performing security reviews of their apps
       without identifying this issue.” Id.

Id.

       Hunt told this Court that it was Microsoft that made changes that fixed the Security

Vulnerability going forward:

       UpGuard also stated that “Microsoft has since made changes to Power Apps portals
       such that table permissions are enabled by default, thereby eliminating the
       vulnerability for Microsoft Power Apps users going forward. Id.

Id. at p. 9. And Hunt confirmed that none of its applicants’ or employees’ PII had been accessed

wrongfully or otherwise hacked:

       J.B. Hunt completed its investigation into the Security Vulnerability by October 18,
       2021. SCC ¶ 38, Ex. 1 at 1. Through this investigation, it determined that while
       certain applicant and employee information “could have been” accessible between
       August 17, 2020 and July 2, 2021, see id. at 1 (disclosing extent of Security
       Vulnerability), it found no evidence that any unknown third party had accessed its
       systems or that any data was otherwise compromised. . . .

       At no point did J.B. Hunt indicate (and there is no evidence) that any unknown third
       party had accessed any job applicant’s PII. . . .

Id. at pp. 9-10 (emphasis in original). Indeed, in written discovery in this case, Hunt claimed that

TTEC “failed to enable a table permissions setting within the Microsoft 365 Dynamics software

package that allowed unauthorized third party access to the portal via an Odata feed and created a

security vulnerability within the portal,” Interrog. No. 8, Ex. 9, but Hunt admitted that “it is

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unaware of any person’s personally identifiable information being accessed or compromised by

any unknown third party.” RFA No. 6, Ex. 8.

       What is more, Hunt has written to this Court that the Security Vulnerability was not

something unique to TTEC’s specific work for Hunt but was a wide-ranging issue involving many

Microsoft customers. Hunt wrote in another court filing in the Wilson case: “On July 2, 2021,

[UpGuard] notified [Hunt] of a security vulnerability that existed on the third-party application –

‘Microsoft Power Apps’ – that J.B. Hunt and numerous other businesses and government entities

used.” Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 57 (W.D. Ark. June 24, 2022), Ex. 6, at p.

2 (emphasis added).

       Even though no person’s PII was accessed wrongfully, Hunt was sued in four lawsuits,

with plaintiffs generally alleging that their PII may have been exposed due to the Security

Vulnerability with the Portal. In written discovery, Hunt identified the four lawsuits:

   -   Wilson v. Hunt (the case discussed above), No. 5:21-CV-05194 (W.D. Ark.);

   -   Brown v. Hunt, No. 4:21-CV-04081 (W.D. Ark.);

   -   Baker v. Hunt, Circuit Court of Cook County, Illinois; and

   -   Ames v. Hunt, Judicial Circuit Court of St. Louis County, Missouri.

       The Wilson, Brown, and Baker lawsuits were consolidated under the Wilson caption in this

Court and before this judge, the Honorable Timothy L. Brooks. As this Court knows, Hunt moved

to dismiss pursuant to Fed. R. Civ. P. 12(b) pre-answer and pre-discovery and this Court granted

the motion, dismissing the cases for lack of standing and/or lack of damages because no PII was

wrongfully accessed. See generally Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 63 (W.D. Ark.

Oct. 6, 2022), Ex. 7. Hunt did not have to go through discovery in these cases because of the pre-

answer dismissal.



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       As for the fourth lawsuit, the Ames case in Missouri, Hunt also moved to dismiss. Before

that motion was decided, Hunt settled that case for a confidential amount. The settlement amount

was identified in discovery pursuant to the protective order and TTEC views the settlement amount

as nominal within the total amount demanded in this lawsuit.

       Hunt then sued TTEC for breach of contract, presenting two discrete claims. First, Hunt

contends that TTEC breached the contract through its “acts and omissions as alleged herein of

implementing the portal for [Hunt] in such a manner so that applicants’ PII was not secure or

protected from unauthorized access.” Am. Compl., ECF 12, ¶ 18. Second, Hunt contends that

TTEC breached the contract by its “refusal to indemnify [Hunt] for all of the costs and expenses

it incurred as a result of” TTEC’s acts and omissions.” Id., ¶ 19. Hunt alleges that “Paragraph 11

of the MSA requires [TTEC] to ‘defend, indemnify, and hold harmless’” Hunt “from and against

all claims . . . liabilities, demand, damages, losses, costs, and expenses (including reasonable

attorney’s fees and investigative expenses), arising out of or resulting from provision of the

Services.” Id., ¶ 16. Hunt alleges that it “incurred substantial costs and expenses as a consequence

of the security vulnerability.” Id., ¶ 17.

       What were those “costs and expenses?” Hunt claims to have paid more than $1.6 million

in legal fees in defending the four lawsuits (all of which were dismissed pre-discovery at the

pleadings stage) and in its dealings with state regulators. Interrog. Resp. No. 6, Ex. 9.

       TTEC now moves for summary judgment. As a matter of law, both breach-of-contract

theories fail on the undisputed material facts.

                             SUMMARY JUDGMENT STANDARD

       Courts grant summary judgment when the pleadings and evidence demonstrate that no

genuine issue of material fact exists and that the moving party is entitled to judgment as a matter



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of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Torgerson v.

City of Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (en banc). A fact is “material” if it could

affect the ultimate disposition of the case, and a factual dispute is “genuine” if there is substantial

evidence to support a reasonable jury verdict in favor of the nonmoving party. Rademacher v.

HBE Corp., 645 F.3d 1005, 1010 (8th Cir. 2011). This Court should view the facts in a light most

favorable to Hunt, as it is the non-moving party. See Haynes v. Reebaire Aircraft, Inc., 161 F.

Supp. 2d 985, 987 (W.D. Ark. 2001).

                                           ARGUMENT

I.     The First Breach-Of-Contract Claim Fails Because There Is Not Evidence That
       TTEC Breached The Contract And There Is Not Evidence That Any PPI Was
       Hacked. Further, The Claim Fails For The Additional Reason That Hunt’s Damages
       Claim Fails Arkansas’s Tacit Agreement Rule.

       A.      Without An Actual Data Breach And Without Evidence That TTEC Did
               Something Wrong In The Implementation Of The Microsoft System, There Is
               No Merit To Hunt’s First Breach-Of-Contract Claim.

       The claim that TTEC breached the contract by allegedly failing to “[m]itigate the risk of

storing sensitive candidate information such as [PII] in personal email accounts” fails on the

undisputed facts. Hunt’s beef is with Microsoft, not TTEC. How can TTEC have breached the

contract when Hunt admits that the Security Vulnerability “existed on the third-party application

– ‘Microsoft Power Apps’ – that J.B. Hunt and numerous other businesses and government entities

used.” Wilson, ECF 57, at p. 2 (emphasis added). The Security Vulnerability in the Microsoft

system had nothing to do with TTEC’s individual work for Hunt.

       TTEC performed the implementation of the Portal – a Microsoft “out of the box” system –

for Hunt consistently with all Microsoft standard practices with all Microsoft default settings in

place and there is no evidence to the contrary. See Hu Declaration, Ex. 1, at ¶ 7. The problem

with the Microsoft Power Apps – and it was a problem with the Microsoft-created program and

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not with TTEC’s implementation of it – was not detectible by TTEC given the scope of the services

to be performed by TTEC for Hunt. See id. at ¶ 9. Once the Security Vulnerability was identified

by Upguard, it was Microsoft who corrected the defect in the Microsoft system going forward, as

Hunt has explained in the Wilson court filings discussed above.

       As important, no Hunt applicant data was ever accessed because of the Security

Vulnerability. How do we know that Microsoft corrected its own vulnerability and that no Hunt

applicant data was ever accessed because of the Security Vulnerability? Hunt has already told this

Court this information in the Wilson litigation. Hunt said that the Security Vulnerability was not

“readily detectable” prior to the UpGuard report. Wilson v. Hunt, Case No. 5:21-cv-05194, ECF

45 (W.D. Ark. Mar. 31, 2022), Ex. 4, at pp. 8-9. The vulnerability was in the Microsoft system,

and it was Microsoft who made changes to address the Security Vulnerability. See id. at p. 9.

Hunt did not need TTEC to secure the portal; Hunt wrote that it secured the portal itself. See

Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 32-1 (W.D. Ark. Mar. 1, 2022), Ex. 5. The

UpGuard report does not place any blame on anyone except Microsoft and does not even mention

TTEC. And, most important, no Hunt applicant data was ever accessed. Accordingly, there is no

merit whatsoever to the claim that TTEC breached the contract by failing to “mitigate the risk of

storing sensitive candidate information.” This breach-of-contract claim fails on the undisputed

facts and TTEC should be granted summary judgment on this claim. Indeed, this Court dismissed

the Wilson litigation filed against Hunt because there were “no facts showing a data breach, and

there [were] no facts showing access by an unknown third party.” Wilson v. Hunt, Case No. 5:21-

cv-05194, ECF 63 (W.D. Ark. Oct. 6, 2022), Ex. 7, at p. 14. Without an actual data breach, there

is no merit to Hunt’s first breach-of-contract claim against TTEC.




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       B.      Hunt’s Damages Claim Fails Arkansas’s Tacit Agreement Rule.

       Even if the Court determines that questions of fact exist on the issue of whether TTEC

breached the contract by allegedly failing to “[m]itigate the risk of storing sensitive candidate

information such as [PII] in personal email accounts,” TTEC is still entitled to summary judgment

on this claim because the damages sought by Hunt are not recoverable as a matter of Arkansas

law. Professor Howard Brill’s treatise, Arkansas Law of Damages, explains the tacit agreement

rule that is the law of Arkansas:

       When a contract has been breached, the wronged party is entitled to those general
       damages that may fairly and reasonably be considered as arising naturally, or
       according to the usual course of things, from the breach of the contract itself.
       Further, the Arkansas courts have followed the English rule of foreseeable damages
       as originally laid out in Hadley v. Baxendale. The wronged party may also recover
       such special damages “as may reasonably be supposed to have been in
       contemplation of both parties at the time they made the contract, as the probable
       result of a breach of it.” Recently, the Arkansas Supreme Court stated that
       “consequential damages are recoverable when they were fairly within the
       contemplation of the parties.”

1 Arkansas Law of Damages § 4:3 (citing Caldwell v. Guardian Trust Co., 26 F.2d 218 (8th Cir.

1928); Miles v. American Ry. Exp. Co., 150 Ark. 114, 233 S.W. 930 (1921); Greenway Equip.,

Inc. v. Johnson, 2020 Ark. App. 336, 602 S.W.3d 142; Hadley v. Baxendale, 1854 WL 7208 (UK.

Ex. Ct.); Optical Partners, Inc. v. Dang, 2011 Ark. 156, 381 S.W.3d 46).

       The summary-judgment record does not establish that TTEC ever “tacitly consented” to

accept responsibility and to be bound to more than ordinary contract damages. Here, there are no

ordinary damages in that no PII was ever wrongfully disclosed. The “special damages” – again,

in the context of allegedly failing to perform the SOW – of $1.6 million in defending meritless

lawsuits filed against Hunt and dismissed at the pleadings stage are patently beyond TTEC’s tacit

consent under the MSA and SOW. As Hunt told this Court in the Wilson litigation, Hunt

“determined that while certain applicant and employee information ‘could have been’ accessible

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between August 17, 2020 and July 2, 2021, . . . it found no evidence that any unknown third party

had accessed its systems or that any data was otherwise compromised.” Wilson v. Hunt, Case No.

5:21-cv-05194, ECF 45 (W.D. Ark. Mar. 31, 2022), Ex. 4, at pp. 9-10. This is a much different

case if PII had been accessed and hacked. It was not, though. The filing of meritless lawsuits on

the basis of the UpGuard report – which did not even assign any blame to TTEC – is not something

that arose naturally, or according to the usual course of things, from the alleged breach of contract

itself.

          Professor Brill explains further the tacit agreement rule:

          It is not enough if the party to be charged with breach merely knew of the special
          circumstances at the time the contract arose or knew that special damages would
          result from a breach. In addition to this knowledge, the facts and circumstances
          must be such as to make it reasonable to believe that the breaching party tacitly
          consented to accept responsibility and to be bound to more than ordinary damages.
          This “tacit agreement” requirement differentiates the Arkansas law from the
          majority of jurisdictions. Arkansas continues to adhere to this two prong approach
          as a prerequisite to holding a breaching party liable for special damages in contract
          actions.

1 Arkansas Law of Damages § 4:3. TTEC could not have contemplated – and certainly did not

accept responsibility – at the time of contracting that a not “readily detectable” vulnerability in the

Microsoft system, which TTEC installed following Microsoft’s standard practices, and which did

not cause any applicant’s or employee’s PII to be taken wrongfully, would place TTEC on the

hook for $1.6 million in special damages for Hunt’s defense of meritless lawsuits over the

Microsoft vulnerability. It was simply “not in the contemplation of the parties at the time the

contract was made” that TTEC would have to pay over $1 million to Hunt even if there was no

data breach. Interstate Grocer Co. v. Namour, 201 Ark. 1095, 148 S.W.2d 175, 176 (1941). TTEC

is entitled to summary judgment on this claim.




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II.    The Second Breach-Of-Contract Claim Fails Because The Contract’s
       Indemnification Provision Did Not As A Matter Of Law Impose An Obligation on
       TTEC To Indemnify Hunt For Hunt’s Own Conduct.

       For its second breach-of-contract claim, Hunt contends that TTEC breached the MSA’s

indemnification provision. Pursuant to the MSA, Hunt is “Buyer” and TTEC is “Contractor.”

The indemnification provision provides:




       In the MSA, “Services” is defined as follows:




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This indemnification provision does not impose an obligation on TTEC to indemnify Hunt for

Hunt’s own conduct, i.e., Hunt’s negligence, breach of implied contract, invasion of privacy,

breach of confidence, unjust enrichment, or violation of state statute, which is all that Hunt could

have been held liable for in the meritless lawsuits that were filed against Hunt.

       “When a contract is unambiguous, its construction is a question of law for the court.” Fryar

v. Boyett, 64 Ark. App. 7, 11, 978 S.W.2d 304, 306 (1998). Arkansas law is well-settled on the

enforceability of indemnity agreements and, in particular, indemnity agreements that attempt to

impose an obligation on another party to indemnify for someone else’s negligence or conduct.

“Indemnity agreements are construed strictly against the party seeking indemnification.” Chevron

U.S.A., Inc. v. Murphy Exploration & Prod. Co., 356 Ark. 324, 330, 151 S.W.3d 306, 310 (2004).

While contracts are generally subject to the rules of construction, Nabholz Constr. Corp. v.

Graham, 319 Ark. 396, 400, 892 S.W.2d 456, 459 (1995), language creating the obligation to

indemnify another for his own negligence must be “expressed in clear and unequivocal terms and

to the extent that no other meaning can be ascribed,” Pickens-Bond Constr. v. North Little Rock

Elec. Co., 249 Ark. 389, 394, 459 S.W.2d 549, 553 (1970). “[T]he liability of an indemnitor for

the negligence of an indemnitee is an extraordinary obligation to assume, and we will not impose

it unless the purpose to do so is spelled out in unmistakable terms.” Arkansas Kraft Corp. v. Bayed

Sanders Constr., 298 Ark. 36, 39, 764 S.W.2d 452, 453 (1989). “[A]greements to indemnify an

indemnitee against its own negligence are generally disfavored, closely scrutinized, strictly

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construed against the indemnitee and in favor of the indemnitor, and will not be upheld unless

expressed in such clear and unequivocal terms that no other meaning can be ascribed.” 1 Arkansas

Law of Damages § 17:10.

       The Arkansas Supreme Court regularly rejects seemingly broad and all-encompassing

language as imposing this onerous obligation. For example, the Supreme Court concluded that

expansive language as “all liability, claims, demands or judgments for damages arising from

accidents to persons or property occasioned by Subcontractor” did not clearly and unequivocally

reflect the intent required, especially given the lack of specific reference to the general contractor,

i.e., the indemnitee. See Nabholz Constr. Corp., 319 Ark. at 401-02, 892 S.W.2d at 459 (discussing

Paul Hardeman, Inc. v. J. I. Hass Co., 246 Ark. 559, 439 S.W.2d 281 (1969)) (enforcing

indemnification agreement when indemnity clause clearly obligated indemnitor to indemnify

indemnitee for damages arising from indemnitee’s own negligence).

       Language similar to the MSA has been held not to impose this type of onerous indemnity

obligation. In Wal-Mart Stores, Inc. v. Black & Decker (U.S.), Inc., 2009 WL 2524570 at *3, No.

09-5062 (W.D. Ark. 2009), Black & Decker was sued by the purchaser of a grinder for personal

injuries sustained as a result of an alleged defect with that product that had been purchased at

Walmart. The purchaser amended the complaint to name Walmart as a defendant with specific

claims directed at Walmart for its violation of the Texas Deceptive Trade Practice Consumer

Protection Act, i.e., a basis for liability independent of alleged negligence of Black & Decker. Id.

at *4. Black & Decker settled the claims against it, and the purchaser/plaintiff amended his

complaint to make clear that the only claims against Walmart were claims of its independent

actions or inactions. Id. at *5. Black & Decker declined to indemnify Walmart for the remaining

action. Id.



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       In the action on the indemnity contract, Judge Robert Dawson concluded that the

indemnification language in the vendor agreement between Walmart and Black & Decker did not

extend to indemnification for Walmart’s independent negligence, which was the only claim against

Walmart. Id. at *13. Judge Dawson explained:

       The indemnification provision in question makes clear that Black & Decker must
       indemnify Wal-Mart for “any and all” losses resulting in whole or in part from
       “any” actual or alleged defect in Black & Decker merchandise sold by Wal-Mart.
       While these words appear to have the breadth and scope to encompass claims
       against Wal-Mart for its sole negligence, they are insufficient, as a matter of
       Arkansas law, to support Wal-Mart’s assertion that Black & Decker must
       indemnify Wal-Mart for its own negligence. As the Arkansas Supreme Court
       concluded in Pickens-Bond and Arkansas Kraft, indemnification requirements for
       “damage or injury from whatever cause” or “any and all liabilities or claims” simply
       fail to speak to indemnification for an indemnitee's sole acts or omissions. Nowhere
       do we find language remotely resembling the “joint, concurrent, or sole negligence”
       indemnification provision upheld in Chevron U.S.A. As a result, despite the breadth
       of the language used in the Vendor Agreement, there is a complete absence of
       language that spells “out in clear, unequivocal, unmistakable terms the indemnitor
       orders intention to obligate itself to indemnify for the indemnitee's negligence.”

Id. at *4. Because Walmart could only be held liable in the underlying litigation based on its own

wrongdoing and not the acts or omissions of Black & Decker, indemnity was not available. Id.

       In the instant action, Hunt seeks indemnity for the costs incurred in defending against four

lawsuits (and the related costs of notifying states’ attorneys’ general and job applicants). But the

allegations against Hunt in these lawsuits involved exclusively Hunt’s own negligence. For

instance, in the operative complaint filed in Wilson (following consolidation of the Wilson, Brown,

and Baker lawsuits), the plaintiffs begin:




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Wilson v. Hunt, Case No. 5:21-cv-05194, ECF 32 (W.D. Ark. Mar. 1, 2022).

        The allegations made by the plaintiffs in Wilson, Brown, and Baker implicate Hunt’s own

alleged wrongdoing, not TTEC’s. In support of their claims against Hunt for negligence, breach

of implied contract, invasion of privacy, breach of confidence, unjust enrichment, or violation of

state statute, plaintiffs alleged:




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Id.

       Under Arkansas law, there must be an express intent in an indemnification provision to

support an indemnitee’s claim that it should be indemnified for the indemnitee’s own conduct.

See, e.g., Arkansas Kraft Corp., 298 Ark. at 39, 764 S.W.2d at 453 (“While no particular words

are required, the liability of an indemnitor for the negligence of an indemnitee is an extraordinary

obligation to assume, and we will not impose it unless the purpose to do so is spelled out in

unmistakable terms.”). Such purpose does not exist here and is certainly not spelled out in

unmistakable terms. TTEC is entitled to summary judgment on the second breach-of-contract

claim for this reason alone.

       In any event, § 11.3 of the MSA makes clear that “consequential loss or damage” are

excluded from the indemnification provision. As briefed above, with no data breach or hack

whatsoever caused by Microsoft’s Security Vulnerability, TTEC could not have reasonably

anticipated that Hunt would seek $1.6 million for essentially defending four meritless lawsuit. The

$1.6 million is simply not recoverable under the terms of the indemnification provision as it was

consequential damages not reasonably anticipated without an actual data breach.

                                         CONCLUSION

        TTEC is entitled to summary judgment on both of Hunt’s breach-of-contract claims. The

first breach-of-contract claim fails because there is no evidence that TTEC breached the contract

and there is no evidence that any PPI was hacked. In any event, Hunt’s damages claim fails

Arkansas’s tacit agreement rule. The second breach-of-contract claim fails because the contract’s

indemnification provision did not impose an obligation on TTEC to indemnify Hunt for Hunt’s

own alleged conduct as a matter of Arkansas law. This case should be dismissed with prejudice.




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                                              /s/ Brandon B. Cate
                                              Vincent O. Chadick
                                              Ark. Bar No. 94075
                                              Brandon B. Cate
                                              Ark. Bar No. 2001203
                                              Meredith M. Causey
                                              Ark. Bar No. 2012265
                                              Andrew S. Dixon
                                              Ark. Bar No. 2019193
                                              Attorneys for Defendants
                                              QUATTLEBAUM, GROOMS & TULL PLLC
                                              4100 Corporate Center Drive, Suite 310
                                              Springdale, Arkansas 72762
                                              Telephone: (479) 444-5200
                                              Facsimile: (479) 444-6647
                                              E-Mail: vchadick@qgtlaw.com
                                              E-Mail: bcate@qgtlaw.com
                                              E-Mail: mcausey@qgtlaw.com
                                              E-Mail: adixon@qgtlaw.com

                                CERTIFICATE OF SERVICE

         I hereby certify that on this 19th day of April, 2024, I filed a copy of the foregoing with
the Clerk of the Court using the ECF electronic filing system, which shall send notification of such
filing to the following counsel of record for plaintiff:

Jason H. Wales, Esq.
at jason@wm-lawyers.com; tracy@wm-lawyers.com


                                              /s/ Brandon B. Cate




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